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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                            CASE NO.: 21-61644-CIV-SINGHAL


  SECURITIES AND EXCHANGE COMMISSION,

         Plaintiff,

  v.

  MJ CAPITAL FUNDING, LLC,
  MJ TAXES AND MORE, INC., and
  JOHANNA M. GARCIA,

       Defendants.
  __________________________________________/

                  JUDGMENT AS TO DEFENDANT MJ CAPITAL FUNDING, LLC

         The Securities and Exchange Commission (the “Commission”) having filed a

  Complaint for Injunctive and Other Relief and Demand for Jury Trial (DE [1]) and

  Defendant MJ Capital Funding, LLC (“Defendant”) having entered a general appearance;

  consented to the Court’s jurisdiction over Defendant and the subject matter of this action;

  consented to entry of this Judgment without admitting or denying the allegations of the

  Complaint (except as to jurisdiction); waived findings of fact and conclusions of law; and

  waived any right to appeal from this Judgment, the Court finds as follows:

  I.     PERMANENT INJUNCTIVE RELIEF

         A. Section 10(b) of the Securities Exchange Act of 1934 (the “Exchange

             Act”) and Exchange Act Rule 10b-5

         IT IS HEREBY ORDERED, ADJUDGED, AND DECREED that Defendant is

  permanently restrained and enjoined from violating, directly or indirectly, Section 10(b) of

  the Exchange Act [15 U.S.C. § 78j(b)] and Rule 10b-5 promulgated thereunder [17 C.F.R.
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  § 240.10b-5], by using any means or instrumentality of interstate commerce, or of the

  mails, or of any facility of any national securities exchange, in connection with the

  purchase or sale of any security:

                (a)    to employ any device, scheme, or artifice to defraud;

                (b)    to make any untrue statement of a material fact or to omit to state a

                       material fact necessary in order to make the statements made, in the

                       light of the circumstances under which they were made, not

                       misleading; or

                (c)    to engage in any act, practice, or course of business which operates

                       or would operate as a fraud or deceit upon any person,

  by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any

  person, or (ii) disseminating false or misleading documents, materials, or information or

  making, either orally or in writing, any false or misleading statement in any communication

  with any investor or prospective investor, about:

                (a)    any investment in or offering of securities;

                (b)    the valuation of any assets, investments, or securities;

                (c)    any returns on investment or performance results;

                (d)    the prospects for success of any product or company; or

                (e)    compensation or fees paid to any person or entity.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following

  who receive actual notice of this Judgment by personal service or otherwise: (a)




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  Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons

  in active concert or participation with Defendant or with anyone described in (a).

         B. Section 17(a) of the Securities Act of 1933 (“Securities Act”)

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

  Defendant is permanently restrained and enjoined from violating Section 17(a) of the

  Securities Act [15 U.S.C. § 77q(a)] in the offer or sale of any security by the use of any

  means or instruments of transportation or communication in interstate commerce or by

  use of the mails, directly or indirectly:

                 (a)    to employ any device, scheme, or artifice to defraud;

                 (b)    to obtain money or property by means of any untrue statement of a

                        material fact or any omission of a material fact necessary in order to

                        make the statements made, in light of the circumstances under which

                        they were made, not misleading; or

                 (c)    to engage in any transaction, practice, or course of business which

                        operates or would operate as a fraud or deceit upon the purchaser,

  by, directly or indirectly, (i) creating a false appearance or otherwise deceiving any

  person, or (ii) disseminating false or misleading documents, materials, or information or

  making, either orally or in writing, any false or misleading statement in any communication

  with any investor or prospective investor, about:

                 (a)    any investment in or offering of securities;

                 (b)    the valuation of any assets, investments, or securities;

                 (c)    any returns on investment or performance results;

                 (d)    the prospects for success of any product or company; or




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                (e)    compensation or fees paid to any person or entity.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following

  who receive actual notice of this Judgment by personal service or otherwise: (a)

  Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons

  in active concert or participation with Defendant or with anyone described in (a).

         C. Section 5 of the Securities Act

         IT IS HEREBY FURTHER ORDERED, ADJUDGED, AND DECREED that

  Defendant is permanently restrained and enjoined from violating Section 5 of the

  Securities Act, 15 U.S.C. § 77e, by, directly or indirectly, in the absence of any applicable

  exemption:

                (a)    Unless a registration statement is in effect as to a security, making

                       use of any means or instruments of transportation or communication

                       in interstate commerce or of the mails to sell such security through

                       the use or medium of any prospectus or otherwise;

                (b)    Unless a registration statement is in effect as to a security, carrying

                       or causing to be carried through the mails or in interstate commerce,

                       by any means or instruments of transportation, any such security for

                       the purpose of sale or for delivery after sale; or

                (c)    Making use of any means or instruments of transportation or

                       communication in interstate commerce or of the mails to offer to sell

                       or offer to buy through the use or medium of any prospectus or

                       otherwise any security, unless a registration statement has been filed




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                       with the Commission as to such security, or while the registration

                       statement is the subject of a refusal order or stop order or (prior to

                       the effective date of the registration statement) any public

                       proceeding or examination under Section 8 of the Securities Act, 15

                       U.S.C. § 77h.

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that, as provided in

  Federal Rule of Civil Procedure 65(d)(2), the foregoing paragraph also binds the following

  who receive actual notice of this Judgment by personal service or otherwise: (a)

  Defendant’s officers, agents, servants, employees, and attorneys; and (b) other persons

  in active concert or participation with Defendant or with anyone described in (a).

  II.    DISGORGEMENT, PREJUDGMENT INTEREST AND CIVIL PENALTY

         Upon motion of the Commission, the Court shall determine whether it is

  appropriate to order disgorgement of ill-gotten gains and/or a civil penalty pursuant to

  Section 20(d) of the Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the

  Exchange Act [15 U.S.C. § 78u(d)(3)] and, if so, the amount(s) of the disgorgement and/or

  civil penalty.   If disgorgement is ordered, Defendant shall pay prejudgment interest

  thereon, calculated from June 1, 2020 based on the rate of interest used by the Internal

  Revenue Service for the underpayment of federal income tax as set forth in 26 U.S.C. §

  6621(a)(2). In connection with the Commission’s motion for disgorgement and/or civil

  penalties, and at any hearing held on such a motion: (a) Defendant will be precluded from

  arguing that it did not violate the federal securities laws as alleged in the Complaint; (b)

  Defendant may not challenge the validity of the Consent or this Judgment; (c) solely for

  the purposes of such motion, the allegations of the Complaint shall be accepted as and




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  deemed true by the Court; and (d) the Court may determine the issues raised in the

  motion on the basis of affidavits, declarations, excerpts of sworn deposition or

  investigative testimony, and documentary evidence, without regard to the standards for

  summary judgment contained in Rule 56(c) of the Federal Rules of Civil Procedure. In

  connection with the Commission’s motion for disgorgement and/or civil penalties, the

  parties may take discovery, including discovery from appropriate non-parties.

  III.   INCORPORATION OF CONSENT

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the Consent (DE

  [61-1]) is incorporated herein with the same force and effect as if fully set forth herein,

  and that Defendant shall comply with all of the undertakings and agreements set forth

  therein.

  IV.    RETENTION OF JURISDICTION

         IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that this Court shall

  retain jurisdiction of this matter for the purposes of enforcing the terms of this Judgment.

  V.     RULE 54(b) CERTIFICATION

         There being no just reason for delay, pursuant to Rule 54(b) of the Federal Rules

  of Civil Procedure, the Clerk of Court is DIRECTED to enter this Judgment forthwith and

  without further notice.

         DONE AND ORDERED in Chambers, Fort Lauderdale, Florida, this 1st day of

  October 2021.




  Copies furnished to counsel of record via CM/ECF


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